Case 2:17-cv-02665-JAD-CWH Document 1-1 Filed 10/16/17 Page 1 of 19




                                                                      01
Case 2:17-cv-02665-JAD-CWH Document 1-1 Filed 10/16/17 Page 2 of 19




                                                                      02
Case 2:17-cv-02665-JAD-CWH Document 1-1 Filed 10/16/17 Page 3 of 19




                                                                      03
Case 2:17-cv-02665-JAD-CWH Document 1-1 Filed 10/16/17 Page 4 of 19




                                                                      04
Case 2:17-cv-02665-JAD-CWH Document 1-1 Filed 10/16/17 Page 5 of 19




                                                                      05
Case 2:17-cv-02665-JAD-CWH Document 1-1 Filed 10/16/17 Page 6 of 19




                                                                      06
Case 2:17-cv-02665-JAD-CWH Document 1-1 Filed 10/16/17 Page 7 of 19




                                                                      07
Case 2:17-cv-02665-JAD-CWH Document 1-1 Filed 10/16/17 Page 8 of 19




                                                                      08
Case 2:17-cv-02665-JAD-CWH Document 1-1 Filed 10/16/17 Page 9 of 19




                                                                      09
Case 2:17-cv-02665-JAD-CWH Document 1-1 Filed 10/16/17 Page 10 of 19




                                                                       10
Case 2:17-cv-02665-JAD-CWH Document 1-1 Filed 10/16/17 Page 11 of 19




                                                                       11
Case 2:17-cv-02665-JAD-CWH Document 1-1 Filed 10/16/17 Page 12 of 19




                                                                       12
Case 2:17-cv-02665-JAD-CWH Document 1-1 Filed 10/16/17 Page 13 of 19




                                                                       13
Case 2:17-cv-02665-JAD-CWH Document 1-1 Filed 10/16/17 Page 14 of 19




                                                                       14
Case 2:17-cv-02665-JAD-CWH Document 1-1 Filed 10/16/17 Page 15 of 19




                                                                       15
Case 2:17-cv-02665-JAD-CWH Document 1-1 Filed 10/16/17 Page 16 of 19




                                                                       16
Case 2:17-cv-02665-JAD-CWH Document 1-1 Filed 10/16/17 Page 17 of 19




                                                                       17
Case 2:17-cv-02665-JAD-CWH Document 1-1 Filed 10/16/17 Page 18 of 19




                                                                       18
Case 2:17-cv-02665-JAD-CWH Document 1-1 Filed 10/16/17 Page 19 of 19




                                                                       19
